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Election identification Certificate (EIC)
County Clerk Office instructions

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Election Identification Certificate (EIC)
County Clerk Office Instructions

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Election Identification Certificate ( EIC)
County Clerk Office Instructions

Step 10: Portrait will appear in "Picture" folder - Double-click "Picture" folder from Desktop - the
following screen will appear

County Appendix A

Page5

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Election Identification Certificate {EIC)
County Clerk Office Instructions

Step 11: Rename Portralt “FirstnameLastname_Portrait. This is done by “right clicking on portrait and
selecting ‘rename’
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Step 12: Once portrait is renamed, open the portrait by double clicking it.

County AppendixA

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Election Identification Certificate (EIC)
County Clerk Office Instructions

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Step 14: Image will now be displayed correctly - close window

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Election Identification Certificate (EIC)
County Clerk Office Instructions

Step 15; Ask the Customer to place their signature on the signature card within the yellow box. Only the
signature will be placed in the signature block, NO OTHER DESIGNATION WILL BE ALLOWED

such as, UCC 1308 without prejudice, XOXO, @, ©:).Onty the signature may be placed in thls box. No
smiley faces, hearts or other statements.

~

Step 16: Open the"Temp Card TEMPLATE by double clicking the Icon on the Desktop to open the EIC
spreadsheet. “>

County Appendix A

Page 8

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Election Identification Certificate (EIC)
County Clerk Office Instructions

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Election Identification Certificate (EIC)
County Clerk Office Instructions

Step 19: Type the customer’s Name (Last, First), Date of Birth, and Mailing Address on EIC Temporary
Receipt. (Must enter last name first.) The name should be entered using all capital letters. Example:

LAST NAME, FIRST NAME
Step 20: Move the cursor out of the cells and click the “Import Portrait" button.

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TEMPORARY ELECTION CERTIFICATE CARD VALID UNTIL

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FOR ELECTION PURPOSES ONLY
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Step 22: To import the portrait into the EIC temporary receipt, double-click the Portrait that matches the
customer or single click the portralt and select the "Open" button.

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Election Identification Certificate (EIC)
County Clerk Office Instructions

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Election Identification Certificate (EIC)
County Clerk Office Instructions
Step 23: Save spreadsheet In Receipts folde on Desktop by selecting “Save As” from the drop down

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menu from the Office Button |. and saving as “FirstnameLastname_Receipt”,

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Step 24: Print the Receipt. The County Clerk will sign the receipt on the Employee line, The customer
will sign on the Signature line.

Step 25: Scan documents:
a. Place the following documents face up on scanner:
Oo Application
o ID Does
© Citizenship Docs

County Append IxA

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Election Identification Certificate (EIC)
County Clerk Office Instructions

b, From the scanner- touch screen select;
Oo Sean
o Computer Name: EIC_ADMIN-PC
Oo Saveas POF
o Start Scan

c. The following screen will appear

» Sean Date modified: 9/24/2083 144 PM Date crusted: 8/24/2013 $el4 PM
| Adabe Acrobat Document Sie 320 KB

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Election Identification Certificate (EIC)
County Clerk Office instructions

a. Click on pdf called "Scan" and drag to the “Documents folder on the desktop,

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TEX 1.R.000293
